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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 ATTORNEY GENERAL DANA NESSEL, on
 behalf of the People of the State of Michigan,
 and the STATE OF MICHIGAN,
                                                  No. 1:21-cv-00205
       Plaintiffs,
                                                  HON. PAUL L. MALONEY
 v

 3M COMPANY, E.I. DUPONT DE NEMOURS               PLAINTIFFS’ BRIEF IN
 AND COMPANY, THE CHEMOURS                        SUPPORT OF MOTION TO
 COMPANY, THE CHEMOURS COMPANY                    REMAND
 FC, LLC, DOWDUPONT, INC., CORTEVA,
 INC., DUPONT DE NEMOURS, INC.,
 DYNEON, L.L.C., ARCHROMA U.S., INC.,
 ARCHROMA MANAGEMENT, LLC,
 ARKEMA, INC., ARKEMA FRANCE, S.A.,
 AGC CHEMICALS AMERICAS INC., DAIKIN
 AMERICA, INC., DAIKIN INDUSTRIES,
 LTD., and SOLVAY SPECIALTY POLYMERS,
 USA, LLC,

       Defendants.



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       Plaintiffs, Attorney General Dana Nessel, on behalf of the People of the State

 of Michigan, and the State of Michigan (collectively, State or Michigan), pursuant to

 28 U.S.C. § 1447(c), hereby move to remand this action back to the State of

 Michigan Circuit Court for the 17th Judicial Circuit, Kent County, and to recover

 reasonable attorneys’ fees and costs incurred as a result of this removal, and in

 support of this motion, state as follows:


                            PRELIMINARY STATEMENT

       This case has been proceeding for more than a year in Michigan state court.

 The state court has denied Defendants’ motions for summary disposition; set a fact

 discovery deadline; and scheduled bi-monthly status conferences with the parties to

 keep fact discovery on track. Before 3M filed its Notice of Removal delaying all

 progress in the case, the parties had exchanged more than 3,000,000 pages of

 documents (with more documents to be produced); conducted depositions; and had

 scheduled additional depositions on agreed-upon dates. 3M now seeks removal to

 this Court arguing, as the sole basis for its untimely removal that:

       [T]he discovery responses served by Plaintiffs in this action on January
       28, 2021 have made clear that Plaintiffs in this case do in fact seek to
       recover against Defendants for alleged “PFAS” contamination at
       various sites stemming in whole or in part from the use of PFAS-
       containing AFFF, including AFFF that is subject to federal military
       specifications (“MilSpec AFFF”). Accordingly, 3M intends to assert the
       federal “government contractor” defense against Plaintiffs’ claims.
       (ECF No. 1, PageID.2.)

       As explained below, however, 3M’s statements are patently false. Plaintiffs

 have consistently and uniformly “made clear” throughout this litigation, including

 but not limited to their January 28, 2021 discovery responses, that Plaintiffs do not

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 seek recovery for any damages caused by AFFF in this litigation. 3M misstates the

 nature of Plaintiffs’ discovery responses to revive a deadline that has long passed.

 Its removal gambit (and corresponding effort to drag this PFAS case to the AFFF

 MDL) amount to nothing more than 3M’s time-barred effort to shop this case away

 from the Kent County Circuit Court and into what it believes would be a more

 favorable forum. This Court should reject 3M’s efforts and promptly remand this

 case to Kent County so that this case can proceed in accordance with Judge Quist’s

 fact discovery schedule.


                                   INTRODUCTION

       3M’s misrepresentation of Plaintiffs’ discovery responses, standing alone, is

 sufficient grounds to remand this case back to state court because 3M’s factual basis

 for removal is simply wrong. Setting aside this factual inaccuracy, 3M has no legal

 basis for removing this action for the following reasons:

       First, 3M’s notice is untimely. The alleged “new” information that 3M

 purportedly relies on to justify its untimely notice—Plaintiffs’ January 28, 2021

 discovery responses indicating that RACER Willow Run contains both AFFF and

 PFAS—was explicitly conveyed to 3M long before January 28, 2021. For example:

       -   On September 25, 2020, Plaintiffs served 3M with Plaintiffs’ Initial
           Disclosures that identified RACER Willow Run as a site at issue in
           this PFAS litigation.

       -   On January 8, 2021, Plaintiffs served 3M with Plaintiffs’ Fact Sheet
           in the AFFF MDL which affirmatively informed 3M that RACER
           Willow Run is a site where “the State has identified . . . Mil-Spec
           AFFF.”



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       -   Also on January 8, 2021 date, 3M filed its Notice of Non-Party
           Fault admitting it knew that Former ESCO, another site identified
           in Plaintiffs’ Initial Disclosures, contains AFFF contamination.

 Even if the alleged “new” information in Plaintiffs’ January 28, 2021 discovery

 responses could support removal, 3M was aware of this “new” information earlier

 than January 28, 2021, making its March 1, 2021 Notice of Removal untimely. 28

 U.S.C. 1446(b)(3).

       Second, any basis that 3M allegedly has today for asserting a federal

 government contractor defense existed when Plaintiffs filed the Complaint over a

 year ago. 3M represents to the Court that it “accordingly” intends to assert the

 federal “government contractor” defense against Plaintiffs’ claims based on this

 “new” information on January 28, 2021— but it fails to inform the Court that it

 actually asserted the defense in its Answer on October 9, 2020. If the federal

 government contractor defense was grounds for removal, 3M failed to timely remove

 when it actually asserted the defense months ago.

       Moreover, 3M and the Defendants have been complaining about the

 purported commingling of PFAS and AFFF in Michigan for months. Plaintiffs filed

 separate complaints for PFAS contamination and AFFF contamination and have

 identified separate damages caused by these distinct products from distinct sources.

 3M has voiced its concern with Plaintiffs’ approach on numerous occasions, arguing

 Plaintiffs should not be permitted to do so. For example, counsel for Daikin

 America, speaking on behalf of all Defendants, represented to the Michigan Circuit

 Court on August 21, 2020 that Defendants believe Plaintiffs will be unable to

 distinguish which contamination was caused by AFFF from that caused by PFAS. A

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 simple review of the record to date confirms that 3M’s arguments that it was

 unaware of the presence of AFFF and PFAS in Michigan, including at RACER

 Willow Run, is simply inaccurate.

       Third, removal would prejudice Plaintiffs while allowing 3M the benefit of a

 “wait and see” approach. In addition to removal causing delay, Plaintiffs have

 expended significant resources litigating this case for the past year in state court

 and would be unfairly prejudiced having to start from scratch in another forum. 3M

 should not be allowed to sit on its alleged basis for removal and pocket the

 argument until 3M believes the timing is convenient.

       Lastly, but significantly, 3M cannot establish it has a colorable federal

 government contractor defense because Plaintiffs are not seeking recovery for

 damages caused by AFFF contamination in this action—even at sites where both

 contaminants may be present. 3M is free to argue that all or part of the

 contamination at any site is due to AFFF rather than PFAS. If 3M succeeds,

 Plaintiffs will have no claim for damages in this action as to the portion attributable

 to AFFF. Under any circumstance in this case, the federal government contractor

 defense will be irrelevant. Only where a plaintiff seeks recovery for damages proven

 to be caused by Mil-Spec AFFF—which Plaintiffs do not do here—may the federal

 government contractor defense become relevant. It is not relevant here. 3M’s

 arguments may limit the recovery of damages, but they do not support removal of

 the state court litigation to federal court.

       For all of the reasons set forth above and more fully below, 3M’s Notice of

 Removal is factually and legally incorrect and removal of this action is improper. This

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 Court should remand this action to the Michigan Circuit Court for the 17th Judicial

 Circuit in Kent County, Michigan.


                                     BACKGROUND

 PFAS, Mil-Spec AFFF, and Commercial AFFF.

       AFFF and PFAS are not interchangeable. PFAS are a family of more than

 5,000 chemical compounds containing strong carbon-fluorine bonds. (Compl. at ¶

 18, ECF No. 1–2, PageID.43.) These synthetic chemicals do not occur naturally in

 the environment and have been in use since the 1940s in a wide array of consumer

 and industrial products, including Teflon and Scotchgard. (Id. at ¶ 5–6, ECF No. 1–

 2, PageID.38.). PFAS, as used in this Brief, refers to PFAS contaminants that come

 from industrial, consumer, and other sources wholly unrelated to AFFF.

       AFFF, on the other hand, is a firefighting foam that is manufactured using

 specific types of PFAS, primarily PFOA and PFOS. (See Ex. A—Plaintiffs’ Mil-Spec

 Complaint, at ¶¶ 9–11). Some AFFF was intended for military use and

 manufactured in accordance with military specification Mil-F-24385, a performance

 specification provided by the Department of Defense (Mil-Spec AFFF). (Id. at page

 1.) Other brands of AFFF were manufactured for commercial uses including at fire

 stations, fire suppression systems in commercial spaces, and other non-military

 uses (Commercial AFFF). (Id. at ¶ 27.) Commercial AFFF was not manufactured

 in accordance with military specification Mil-F-24385. (Id.) For ease of reference in

 this Brief, Commercial AFFF and Mil-Spec AFFF are referred to collectively as

 AFFF.

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       The separability of AFFF and PFAS has been recognized by the Judicial

 Panel on Multidistrict Litigation (the Panel or JPML). The Panel has repeatedly

 refused to incorporate strictly PFAS related cases into the AFFF MDL. As the

 Panel explained in another matter, “[w]e have not . . . transferred to the MDL

 actions that do not contain any allegations or claims relating to AFFF use. Indeed,

 we recently denied transfer of an action, Middlesex, in which the claims were

 ‘directed at 3M and its manufacture, marketing, and sales of PFOS and PFOA, not

 its manufacture of AFFF products.’” See In re: Aqueous Film-Forming Foams

 Products Liability Litigation, MDL No. 2873, Doc. 585, pg. 3 (J.P.M.L. Feb. 5, 2020)

 (attached as Ex. B). In fact, the JPML rejected 3M’s Notice of Tag-Along Action

 seeking to have this case transferred to the MDL. See In re: Aqueous Film-Forming

 Foams Products Liability Litigation, MDL No. 2873, MIW/1:21-cv-00205 (J.P.M.L.

 Mar. 3, 2021) (“determin[ing] the listed action(s) is not appropriate for inclusion in

 the MDL.”) (attached as Ex. C). 3M now seeks reconsideration of this ruling, but

 the distinction between PFAS and AFFF claims is clear.


 Michigan’s legal actions to address PFAS and AFFF contamination.

       Michigan has discovered consumer, industrial, and other PFAS contamination

 wholly unrelated to AFFF at multiple sites throughout the state. Michigan has

 identified the potential sources of the discovered consumer and industrial PFAS

 contamination. Michigan initiated this legal action in January 2020 to hold

 companies accountable for their culpable conduct related to their distribution, sale,




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 release, supply, transport, arrangement for disposal or treatment, handling, and/or

 other release of PFAS for industrial and consumer use, unrelated to AFFF.

       Michigan seeks to recover against PFAS manufacturers costs and damages

 related exclusively to PFAS contamination from industrial and other sources distinct

 from AFFF. The Complaint, in fact, explicitly excludes any contamination resulting

 from AFFF of any kind, whether Commercial or Mil-Spec. (Compl. at ¶ 19, ECF No.

 1–2, PageID.43.)

       In August of 2020, Michigan filed a completely separate complaint against Mil-

 Spec AFFF manufacturers, including 3M, concerning contamination caused

 exclusively by Mil-Spec AFFF. (See generally Ex. A.) The Mil-Spec Complaint

 excluded any claim for damages related to PFAS or Commercial AFFF. (Id. at ¶ 27.)

 Michigan filed that case before this Court because that matter involved a federal

 claim under the Resource Conservation and Recovery Act.

       Plaintiffs have filed separate complaints related to separate contaminants.

 The complaint at issue here concerns solely PFAS contamination not caused by any

 AFFF and Plaintiffs do not and will not seek any recovery for contamination caused

 by AFFF—even at sites where both contaminants may be present. This has

 consistently been Plaintiffs’ approach and Defendants have known this position

 from the outset. Nothing in Plaintiffs’ interrogatory responses changes this

 position. Despite 3M’s misrepresentations, Plaintiffs do not seek to recover

 damages related to AFFF contamination in this action.


 Chronological history leading up to 3M’s Notice of Removal.


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       This case and related litigation establish that 3M knew of its purported basis for

 removal before Plaintiffs served their January 28, 2021 discovery responses:

       -   January 14, 2020: Plaintiffs filed the instant matter giving notice to

           Defendants, including 3M, that Plaintiffs intend to seek recovery for

           PFAS contamination in Michigan from industrial, consumer, and

           other sources, excluding any contamination from AFFF. Plaintiffs’

           Complaint included several citations to MPART’s publicly-available

           website that listed (and continues to list) all sites in Michigan at

           which MPART has discovered PFAS contamination. (See generally

           Compl., ECF No. 1–3.);

       -   August 20, 2020: Plaintiffs filed a separate Mil-Spec AFFF

           Complaint giving notice to Defendants, including 3M, that Plaintiffs

           intend to seek recovery for Mil-Spec AFFF contamination in

           Michigan. (See generally Ex. A) Defendants transferred this case to

           the MDL without objection from Plaintiffs.

       -   August 21, 2020: The parties attended oral argument before the

           Kent County Circuit Court to discuss Defendants’ then pending

           motions for summary disposition regarding the PFAS complaint

           presently at issue. During the hearing, counsel for Daikin America,

           speaking on behalf of all Defendants, including 3M, represented to

           Judge George Quist that Defendants believe Plaintiffs will be unable

           to distinguish which contamination in Michigan was caused by AFFF

           from that caused by PFAS. (ECF No. 1-16, PageID.3325–3326);

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      -   September 25, 2020: Plaintiffs served upon 3M a copy of their

          Initial Disclosures in this matter, in which Plaintiffs identified a fact

          witness who has knowledge of PFAS contamination in Michigan

          including but not limited to “knowledge of the following

          contamination sites: RACER Willow Run.” (See Ex. D—Plaintiffs

          Initial Disclosures at pgs. 23-24, No. 67.) 3M knew by this date, at

          the latest, that RACER Willow Run was a PFAS site at issue in this

          litigation and, as set forth below, 3M was informed no later than

          January 8, 2021 that this site also contains Mil-Spec AFFF

          contamination.

      -   October 9, 2020: 3M filed its Answer to the instant PFAS

          Complaint alleging as an affirmative defense that “3M is immune

          from suit under the government-contractor defense.” (3M’s Answer, ¶

          10, ECF No. 1–3, PageID.373.) 3M further stated it is “not

          responsible or liable for any acts or omissions undertaken by or at the

          direction of any governmental authority or agency” and that its

          product “conformed to government standards.” (Id at ¶ 10,

          PageID.338; id. at ¶ 59, PageID.344.)

      -   December 4, 2020: During a scheduling conference, counsel for

          Plaintiffs informed Defendants that in this PFAS litigation, Plaintiffs

          are seeking recovery for “all PFAS contamination in the state”

          (Transcript, ECF No. 1-12, PageID.1217) and that Plaintiffs “have an

          MPART website that identifies all the contaminated sites . . . We

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          have test data for all of them. And I think the Defendants can figure

          that out. . . I don’t believe the Defendants are going to do that, but

          that’s their issue.” (Id. at PageID.1218.) Sites disclosed in Plaintiffs’

          Initial Disclosures, including the Lake St. Clair Watershed, discuss

          the potential presence of AFFF on the MPART website.

      -   December 23, 2020: 3M served discovery on Plaintiffs seeking

          documents “concerning the co-mingling of PFAS contamination from

          AFFF.” (See Ex. E—3M’s First Set of Interrogatories to Plaintiffs, at

          No. 17.)

      -   January 8, 2021: Plaintiffs filed and served upon 3M Plaintiffs’

          “Fact Sheet” in the Mil-Spec AFFF case stating, in relevant part, that

          the State has identified Mil-Spec AFFF at certain sites, including but

          not limited to RACER Willow Run. (See Ex. F—Plaintiffs Fact Sheet

          at Section III, No. 16.)

      -   January 8, 2021: 3M filed its Notice of Non-Party Fault in this

          matter, identifying numerous sites and parties known by 3M to have

          released AFFF. By way of example, 3M disclosed that ESCO

          Company is a non-party at fault who is liable for its release of AFFF

          at the Former ESCO Site. (3M’s Not. of Non-Parties at Fault, ECF

          No. 1-10, PageID.1025.) Plaintiffs previously disclosed Former ESCO

          as a site at issue in this PFAS litigation in their September 25, 2020

          Initial Disclosures. (See Ex. D at pg. 18, No. 46.)



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       -   January 28, 2021: Plaintiffs served on 3M discovery responses to

           Defendant Daikin America, Inc.’s written discovery requests in which

           Michigan repeated what it had previously disclosed— that Michigan

           believes the RACER Willow Run site has both AFFF and PFAS

           contamination. Plaintiffs also reaffirmed, as it had on numerous

           other occasions throughout this litigation, that Plaintiffs only seek

           recovery for the portion of damages caused by PFAS and do not seek

           any recovery for damages cause by AFFF contamination.

       -   March 1, 2021: 3M filed its Notice of Removal alleging it had no idea

           until Plaintiffs’ January 28, 2021 interrogatory response that there

           may be sites at issue that contain both AFFF and PFAS.


                                      ARGUMENT

 I.    Legal standard.

       As the parties seeking removal, 3M bears the burden of establishing federal

 court jurisdiction, Eastman v. Marine Mech. Corp., 438 F.3d 544, 549 (6th Cir. 2006),

 and demonstrating that removal is proper. 28 U.S.C. § 1441(a). The Court “shall”

 remand cases in which it lacks jurisdiction. 28 U.S.C. § 1447(c).


 II.   3M’s Notice of Removal is untimely.

       Putting aside the lack of viability of 3M’s alleged government contractor

 defense, 3M’s Notice of Removal is untimely because 3M had notice of its purported

 grounds for removal well before Plaintiffs served their discovery responses on

 January 28, 2021.
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       “If the case stated by the initial pleading is not removable, a notice of removal

 may be filed within thirty days after receipt by the defendant, through service or

 otherwise, of a copy of an amended pleading, motion, order or other paper from which

 it may first be ascertained that the case is one which is or has become removable.” 28

 U.S.C. § 1446(b)(3) (emphasis added). If, however, the case stated by the initial

 pleading is removable, “[t]he notice of removal of a civil action or proceeding shall be

 filed within 30 days after the receipt by the defendant, through service or otherwise,

 of a copy of the initial pleading setting forth the claim for relief upon which such

 action or proceeding is based.” Id. § 1446(b)(1). The 6th Circuit has held that “the

 strict time requirement for removal in civil cases is not jurisdictional; rather, it is a

 strictly applied rule of procedure and untimeliness is a ground for remand so long as

 the timeliness has not been waived.” Seaton v. Jabe, 992 F.2d 79, 81 (6th Cir. 1993)

 (citations omitted); see also City of Albion v. Guar. Nat'l Ins. Co., 35 F. Supp. 2d 542,

 544 (W.D. Mich. 1998) (“Although not jurisdictional, the thirty-day period for removal

 is mandatory and must be strictly applied.”).

       3M filed its Notice of Removal on March 1, 2021, more than one year after

 Plaintiffs filed their Complaint. 3M’s notice is untimely because: (1) 3M knew well

 before January 28, 2021 that RACER Willow Run and other sites at issue in this

 litigation may have both AFFF and PFAS contamination; and (2) 3M was even aware

 of its purported basis for removal upon receipt of the Complaint.


       A.     3M knew before January 28, 2021 that Plaintiffs intend to seek
              recovery for PFAS contamination at RACER Willow Run, among
              other sites, and that those same sites also contain separate AFFF
              contamination.
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       Although 3M argues that the presence of both AFFF and PFAS at the same site

 is new information that supports removal of this case over a year after Plaintiffs filed

 their Complaint, 3M has known since before January 28, 2021 that certain sites at

 issue in this case may have both AFFF and PFAS contamination. 3M primarily relies

 on information concerning RACER Willow Run—a site 3M alleges it had no idea was

 at issue in this case or that it contained AFFF contamination until Plaintiffs served

 their January 28 discovery responses. (Not. of Removal at ¶ 7, ECF No. 1, PageID.5.)

 However, RACER Willow Run was identified as a site at issue in this this case in

 Plaintiffs’ September 25, 2020 Initial Disclosures. (See Ex. D—Plaintiffs Initial

 Disclosures at pgs. 23-24, No. 67.)

       3M also had notice before January 28, 2021 that MPART suspects that RACER

 Willow Run, among other sites, has been contaminated with AFFF in addition to

 PFAS. In Plaintiffs’ January 8, 2021 Fact Sheet served on 3M in Plaintiffs’ Mil-Spec

 AFFF case, Plaintiffs disclosed to 3M that Michigan identified Mil-Spec AFFF at the

 RACER Willow Run site. (See Ex. F—Plaintiffs Fact Sheet at Section III, No. 16.)1

 Therein, Plaintiffs informed 3M that the State “seeks to remedy environmental and

 natural resource damages caused by PFAS from Mil-Spec AFFF.” (Id.). RACER

 Willow Run was listed as one of sixteen Mil-Spec AFFF Sites. (Id.) Although 3M

 conspicuously omitted any reference to Plaintiffs’ Fact Sheet in its Notice of Removal,



 1 This pleading was served on 3M in Plaintiffs’ related Mil-Spec AFFF case currently
 pending in MDL No. 2873. This document was filed in that case subject to a
 protective order entered by Judge Gergel. As the party afforded the confidentiality
 protection of this filing, Plaintiffs waive their confidentiality for purposes of including
 in this Brief.
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 3M recently filed a Motion to Transfer this case to MDL No. 2873 in which 3M not

 only relied on Plaintiffs’ Fact Sheet in support of its Motion, but 3M misrepresented

 that the Fact Sheet was cited to and relied on in the Notice of Removal presently at

 issue:

          On March 1, 2021, Defendant 3M Company removed this action to
          federal court based on federal officer jurisdiction. 3M averred that
          Plaintiffs had claimed in their putative MilSpec AFFF action in the
          MDL that the contamination at the RACER Willow Run site that
          Plaintiffs put at issue in this case arises, at least in part, from MilSpec
          AFFF . . . and that 3M intended to assert a federal government
          contractor defense to Plaintiffs’ claims. [See Ex. G—3M’s Motion to
          Transfer, at pg. 7–8; see also id. at pgs. 10–11 (discussing Plaintiffs’
          verified responses in the Fact Sheet).]

          The entire basis for 3M’s untimely removal is its allegation that it was just

 informed of the presence of both AFFF and PFAS contamination at RACER Willow

 Run on January 28, 2021. That is patently false. That information was explicitly

 conveyed to 3M by January 8, 2021, at the absolute latest, through Plaintiffs’ Initial

 Disclosures and Plaintiffs’ Mil-Spec Fact Sheet. Based on the date on which 3M

 received Plaintiffs’ Fact Sheet in the Mil-Spec matter, 3M would have had to remove

 this matter by February 7, 2021.

          Although 3M’s primary basis for alleging the existence of the federal officer

 jurisdiction is the Willow Run site, 3M knew well before January 28, 2021 that other

 sites at issue may be contaminated with both PFAS and AFFF. On the same January

 8, 2021 date, 3M also filed its Notice of Non-Party Fault admitting that 3M knew of

 the presence of AFFF contamination at other sites identified in Plaintiffs’ September

 28, 2020 Initial Disclosures. By way of example, 3M disclosed ESCO Company as an

 alleged non-party at fault who is liable for its release of AFFF at the Former ESCO

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 Site. (ECF No. 1-10, PageID.1025–26.) Plaintiffs had previously disclosed Former

 ESCO as a site at issue in this PFAS litigation in their September 25, 2020 Initial

 Disclosures. (Ex. D, at pg. 18, No. 46.)

       3M knew of the exact information that serves as the foundation for its entire

 removal by January 8, 2021, at the very latest—over 30 days before 3M removed this

 action. As the Court in In re Welding Fume Prods. Liab. Litig., 606 F. Supp. 2d 716,

 721 (N.D. Ohio 2009) explained:

       The factual basis upon which defendants relied to remove the five-
       plaintiff case in this instance was receipt of a paper showing that one of
       the plaintiffs (Mitchem) welded on a United States Navy ship,
       implicating the military contractor defense. But defendants had received
       precisely the same thing -- a paper showing that one of the plaintiffs
       (Thomas) welded on a United States Navy ship, implicating the military
       contractor defense -- months earlier, and did not remove the five-plaintiff
       case. Having failed to file their notice of removal within 30 days of their
       first receipt of this "other paper," defendants did not comply with the
       requirements of 28 U.S.C. §1446(b).

 See also Olds v. Michigan Bell Tel. Co., 1987 U.S. Dist. LEXIS 15680, *13 (E.D. Mich.

 1987) (holding removal was untimely because “[t]he complaint has not been amended,

 nor has a new pleading changed facts important to the posture of the case. Nor is

 there an important federal interest.”); Bence v. Cottman Transmission Sys., No. 5:03-

 CV-26, 2003 U.S. Dist. LEXIS 9671, *8 (W.D. Mich. May 19, 2003) (removal untimely

 where initial pleading was removeable); Hauck v. Advance Auto Parts, 2013 U.S. Dist.

 LEXIS 34226, at *3 (S.D.N.Y. Mar. 12, 2013) (removal untimely because information

 in interrogatory response was not new).

       Through their Initial Disclosures, Plaintiffs additionally disclosed the presence

 of contamination from both AFFF and PFAS at various sites by disclosing relevant


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 documents and information on Michigan’s MPART website. For instance, Plaintiffs

 disclosed the Lake St. Clair Watershed as a PFAS contamination site, further

 informing that Defendants may find relevant documents and information “located on

 the MPART website at https://www.michigan.gov/pfasresponse,” including “test data,

 correspondence, communications, emails, and investigation materials related to each

 site.” (Ex. D at pg. 25–26, No. 75.) The MPART webpage for the Lake St. Clair

 Watershed states that at least two AFFF sources of contamination to Lake St. Clair

 have been identified—Selfridge Air National Guard Base and Axalta Coating

 Systems.2 Such documents and other information provided during discovery

 constitute “other paper” that start the removal clock. Ritchie v. Williams, 395 F.3d

 283, 287 n.2 (6th Cir. 2005) (production of a document during discovery constitutes an

 “other paper”).

       Likewise, during a scheduling conference on December 4, 2020, counsel for

 Plaintiffs informed Defendants that in this PFAS litigation, Plaintiffs are seeking

 recovery for “all PFAS contamination in the state” including “anything . . . that is on

 the MPART website.” (ECF No. 1-12, PageID.1217.) Plaintiffs further explained they

 “have an MPART website that identifies all the contaminated sites . . . We have test

 data for all of them. And I think the Defendants can figure that out. . . I don’t believe

 the Defendants are going to do that, but that’s their issue.” (ECF No. 1-12,

 PageID.1218.) The Sixth Circuit has recognized that hearing transcripts are “other


 2 Michigan Department of Environment, Great Lakes, and Energy (EGLE), Clinton
 River/Lake St. Clair Watershed, MICHIGAN PFAS ACTION RESPONSE TEAM,
 https://www.michigan.gov/pfasresponse/0,9038,7-365-86511_95792_95797-510274--
 ,00.html (accessed March 9, 2021).
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 paper” that start the 30-day clock. Berera v. Mesa Med. Group, PLLC, 779 F.3d 352,

 365 (6th Cir. 2015).

       Plaintiffs’ disclosure of facts and information regarding RACER Willow Run,

 Former ESCO, the Lake St. Claire’s Watershed, and the MPART website are merely

 representative instances in the record that evidence 3M’s knowledge of both AFFF

 and PFAS contamination within Michigan. In addition to these instances, as set forth

 below, 3M’s own conduct supports the conclusion that 3M believed the initial

 complaint to be removeable under 28 U.S.C. § 1446(b)(1).


       B.     3M had knowledge of its alleged basis for removal from the date
              Plaintiffs filed the initial Complaint.

       3M was aware of its alleged basis for asserting a federal government contractor

 defense when Plaintiffs filed the Complaint over a year ago. Indeed, 3M raised the

 federal government contractor defense in its Answer. (3M’s Answer at ¶ 10, ECF No.

 1–3, PageID.373.) 3M either raised this very specific affirmative defense frivolously,

 or believed it had some factual basis for asserting the defense at the time Plaintiffs

 filed their Complaint. As at least one district court has explained:

       [Defendant] also expressly invoked the colorable federal defenses
       required for removal . . . Where “the plain language of . . . the answer is
       quite broad, and separate affirmative defenses asserted in the answer
       refer to [the removal grounds],” the argument that the answering party
       was at the time unaware of the very grounds it was arguing is
       disingenuous at best. [Dietrich v. Autozone W., Inc. No. LA CV19-04291,
       2019 U.S. Dist. LEXIS 187651, at *26-29 (C.D. Cal. Oct. 28, 2019)].

 See also Groesbeck Invs., Inc. v. Smith, 224 F. Supp. 2d 1144, 1150 (E.D. Mich 2002)

 (“[Defendant] further specifically asserted in its Answer the Plaintiff's failure to

 establish waiver of sovereign immunity under 28 U.S.C. § 2410 -- the statute

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 authorizing suits to quiet title against the Government -- as an affirmative defense.

 Thus, this is not a case like Harmony Homes where the Government would have had

 ‘to infer the appropriate statute’ providing federal question jurisdiction.”).

        Regardless of 3M’s independent bases for asserting this defense, it was

 apparent from the face of the Complaint that distinguishing PFAS contamination

 from AFFF contamination would be an issue in this case. As an example, Plaintiffs’

 Complaint provides that they intend to recover damages in this action for PFOA and

 PFOS contamination from non-AFFF sources. (Compl. at ¶17, ECF No. 1-2,

 PageID.40–41.) Although Plaintiffs explicitly stated that AFFF contamination is not

 at issue in this matter, Plaintiffs recognized in their Complaint that AFFF is a

 potential source of PFOA and PFOS contamination. (Id. at ¶19.) As such, 3M had

 notice—from the date the Complaint was filed—of the potential defense that the

 PFOA and PFOS came from AFFF rather than another non-AFFF source. In fact, 3M

 stated in its Notice of Removal, “MilSpec [AFFF] . . . includes PFOA and PFOS, some

 of the very PFAS compounds at issue in the Complaint here.” (ECF No. 1, PageID9–

 10.)

        After filing the Complaint at issue, Plaintiffs filed a separate complaint against

 3M for Mil-Spec AFFF contamination in Michigan on August 20, 2020. At the very

 latest, 3M knew when Plaintiffs filed their Mil-Spec Complaint that both

 contaminants were present in Michigan. As alleged by 3M in its Motion to Transfer

 this case to the MDL:

        [T]ransfer is even more plainly warranted here because these same
        Plaintiffs have brought two other related actions that have already
        been transferred to the MDL and in which, just as in this action,

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       Plaintiffs broadly seek recovery for PFAS contamination “throughout
       the State” of Michigan. Indeed, all three complaints are based on
       substantively identical allegations of purported contamination of
       groundwater, surface waters, and other natural resources throughout
       Michigan with the same PFAS chemicals.

       ***

       Indeed, Plaintiffs’ allegations in this case that PFAS “continue[s] to
       move through the environment and contaminate and injure State
       natural resources and property” (Ex. 1, Complaint ¶ 448) is simply
       inconsistent with Plaintiffs’ attempt to segregate AFFF and non-AFFF
       sites. Likewise, Plaintiffs’ claims in this case to recover for injuries to
       “fish and other wildlife,” which similarly move through the
       environment, are also inconsistent with Plaintiffs’ attempt to segregate
       AFFF and non-AFFF sites. [Ex. G, pgs. 14–16.]

       As 3M acknowledges, both the PFAS complaint and Mil-Spec AFFF complaint

 discuss contamination “throughout Michigan” from these soluble contaminants that

 “move through groundwater, surface waters, soils, and other natural resources,”

 causing new damages as they spread across Michigan. (Compl. at ¶448, ECF No. 1–2,

 PageID.119; see also Ex. A at ¶ 294.) 3M knew when Plaintiffs’ filed their Mil-Spec

 AFFF complaint that proving the source of contamination, including that from PFOA

 and PFOS, would be disputed. See, e.g., Thomas v. CVS Health Corp., No. 2:19-cv-

 04283-R-FFM, 2019 U.S. Dist. LEXIS 129788, at *5-8 (C.D. Cal. Aug. 1, 2019)

 (complaint in another case was “other paper” that started the 30-day clock because

 “the cases involve essentially the same facts, and the same attorneys have

 represented Defendants in [both actions]”).

       3M’s allegation it did not know of the presence of AFFF and PFAS in Michigan

 is also irreconcilable with 3M’s own conduct throughout this litigation. On August 21,

 2020, counsel for Daikin America, speaking on behalf of all Defendants, including 3M,


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 represented to the Michigan Circuit Court that Defendants’ believe Plaintiffs will be

 unable to distinguish contamination caused by AFFF from that caused by PFAS:

        And now [Plaintiffs] have this additional problem that is in our
        complaint here, but is highlighted by the fact that they filed this new
        complaint in the MDL that they have to separate which PFOA in the
        waters of Michigan came from firefighting foam, which by the way is the
        principle basis in which these chemicals get into groundwater, from that
        which didn't come from it. That's -- that's a -- I think a -- a problem of
        their own out of greed. But they've split the cause of action.” [ECF No. 1-
        16, PageID.3325–3326.]

 Statements made by a party in open court may be relevant to the Court’s inquiry as to

 the timeliness of removal under § 1446. See, e.g., Pureflex, Inc. v. Semmelmeyer-Corby

 Co., 2001 U.S. Dist. LEXIS 10123, *13 (W.D. Mich. 2001) (reciting cases holding that

 statements made by defense counsel in open court are relevant to defendant’s

 knowledge of facts for removal). Likewise, on December 23, 2020, 3M served

 discovery on Plaintiffs related to alleged “co-mingling” of AFFF and PFAS at various

 contamination sites. (See Ex. E—3M’s First Set of Interrogatories to Plaintiffs, at No.

 17.)

        By their own admission and in their Answer, 3M knew distinguishing between

 AFFF and PFAS was going to be a debated issue in this matter from the moment

 Plaintiffs filed their Complaint. That was the very reason 3M asserted the

 government contractor defense in its Answer. If 3M had any uncertainty, Plaintiffs

 explicitly informed 3M through pleadings that many sites at issue in this litigation,

 including RACER Willow Run, contain both AFFF and PFAS contamination.

 Ignoring these facts, 3M removed this case on the false assertion it was unaware of

 the presence of both PFAS and AFFF in Michigan, including at RACER Willow Run,


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 until Plaintiffs served their January 28, 2021 discovery responses. 3M’s fiction should

 not persuade the Court and this case should be remanded.


       C.     Allowing 3M’s untimely removal would significantly delay the
              proceedings and prejudice Plaintiffs while providing 3M the
              inequitable benefit of changing forums because the case is not
              proceeding in 3M’s favor.

       Removal at this late juncture will delay the proceedings to 3M’s advantage and

 substantially prejudice Plaintiffs. 3M has been aware of its dubious basis for

 removing this case to federal court – asserting a federal government contractor

 defense – from the time it received the Complaint in January 2020. As discussed

 above, 3M was further informed on multiple occasions after Plaintiffs filed the

 Complaint. 3M removed this case from 3M’s chosen venue in Kent County to federal

 court because the case was not proceeding in its favor.

       The 30-day time limitation for removal in 28 U.S.C. § 1446(b) serves two

 purposes. First, it “deprive[s] the defendant of the undeserved tactical advantage

 that he would have if he could wait and see how he was faring in state court before

 deciding whether to remove the case to another court system.” Hamid v. Aircraft

 Serv. Int'l, No. 08-CV-10973, 2008 U.S. Dist. LEXIS 29246, *17-18 (E.D. Mich. 2008).

 In other words, it “prevents a second bite at the jurisdictional apple if a defendant

 (belatedly) perceives that the case is proceeding other than to his liking.” McCraw v.

 Lyons, 863 F. Supp. 430, 434 (W.D. Ky. 1994) (quoting Gorman v. Abbott Laboratories,

 629 F. Supp. 1196, 1199 (D.R.I. 1986). Secondly, the time limit minimizes the delay

 and waste of resources involved in starting a case over in federal court after

 substantial proceedings have taken place in state court. Hamid, No. 08-CV-10973,

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 2008 U.S. Dist. LEXIS 29246, *17-18. Removal at this late juncture would contravene

 both purposes by (1) providing 3M with an inequitable and undeserved tactical benefit

 of changing forums because the case is not proceeding in 3M’s favor, and (2) delaying

 the case and wasting resources to Plaintiffs’ prejudice.

       Kent County is 3M’s chosen venue. Plaintiffs initially filed this Complaint in

 Washtenaw County state court. On February 14, 2020, 3M moved for a transfer of

 venue, selecting Kent County as the venue of its choice. On March 11, 2020, 3M’s

 request to transfer venue to Kent County was granted. Since its transfer to Kent

 County, Plaintiffs, Defendants, and the Kent County court have spent considerable

 time, effort, and resources in significantly advancing this proceeding. The Kent

 County court has carefully considered and ruled on lengthy and involved dispositive

 motions, held multiple status conferences, established a fact discovery deadline and a

 regular status conference schedule, and resolved disagreements concerning the

 parties’ ESI protocol and protective orders.

       3M removed this matter to federal court from its chosen venue only after losing

 its motion for summary disposition and after failing to obtain the lengthy fact

 discovery timeline that it requested. On January 27, 2021, for example, 3M along

 with other defendants requested a minimum fact discovery deadline of January 23,

 2023. Judge Quist entered a Case Management Order setting the fact discovery

 deadline in this case for January 31, 2022.

       This is exactly the kind of delay that the 30-day limitation period is specifically

 designed to prevent. See Hamid, 2008 U.S. Dist. LEXIS 29246 at *18; Gorman, 629 F.

 Supp. at 1199; Tolley v. Monsanto, Co., 591 F. Supp. 2d 837, 850 (S.D.W. Va. 2008)

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 (“Moreover, § 1446’s time requirement is specifically designed to protect against such

 undue delays and the consequent waste of judicial resources.”). Allowing removal

 now would reward 3M’s “wait and see” defense approach by allowing it to forum shop

 simply because the venue it chose has not given it the results for which it had hoped.

       3M’s late removal constitutes deliberate gamesmanship that prejudices

 Plaintiffs and would result in the delay and waste the removal time limit is designed

 to prevent. See Hamid, 2008 U.S. Dist. LEXIS 29246 at *18; Tolley F. Supp. 2d at 850

 (“[I]t is very clear that a defendant may not manipulate removal statutes to

 strategically delay litigation.”). Remand should be granted where the case has been

 pending in the state court for some time and significant litigation progress has been

 made. Hamid, 2008 U.S. Dist. LEXIS 29246 at *18 (granting remand where matter

 had been pending in state court for 133 days during which “the state court heard and

 disposed of motions, held a status conference, and set dates concerning discovery, case

 evaluation, and the settlement conference”). Removal at this stage of the litigation

 not only provides 3M with a strategic advantage at Plaintiffs’ expense, it is also in

 direct opposition to judicial policies of expeditious resolutions and protecting judicial

 resources from frivolous waste.

       The prejudicial effects of 3M’s untimely removal to Plaintiffs are many, but

 perhaps most significant is the effect the delay will have on Michigan’s response to

 the PFAS crisis, which endangers the health and welfare of Michigan’s residents,

 wildlife, environment, and natural resources on a daily basis. Importantly, this

 matter had been on track for a reasonably timely resolution, which would allow

 Michigan to proceed with protecting its residents and its environment. 3M should not

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 be allowed to frustrate these efforts with an untimely and meritless removal. This

 matter must be remanded to Kent County.


 III.   3M does not have a viable federal government contractor defense
        because Plaintiffs are not seeking any damages in this litigation
        related to AFFF.

        Apart from its untimeliness, 3M cannot establish it has a colorable government

 contractor defense. In support of its Notice of Removal, 3M fundamentally

 misrepresented that Plaintiffs, through their interrogatory responses, have changed

 their position to seek damages in this case for AFFF contamination. More

 specifically, 3M falsely asserted, “Plaintiffs are seeking to recover in this case for

 alleged PFAS contamination from both alleged non-AFFF and AFFF sources.” (Not.

 of Rem., ¶7, ECF No. 1, PageID.2.) This baseless assertion is unsupported by the

 entirety of the record, including the very interrogatory response relied on by 3M, in

 which Plaintiffs consistently stated they do not seek any recovery for damages caused

 by AFFF in this action, even at sites where both PFAS and AFFF contamination may

 be present. Because the entire foundation of 3M’s removal is premised on a blatant

 misrepresentation, 3M has no basis for asserting a government contractor defense

 and this case should be remanded.


        A.    Plaintiffs filed separate complaints for Mil-Spec AFFF
              contamination and PFAS contamination, and have consistently
              limited their recovery in this action to damages caused by non-
              AFFF sources of PFAS.

        Michigan initiated multiple legal actions to hold different companies

 accountable for their manufacture, distribution, and other business conduct related to


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 PFAS, PFAS-containing products, and AFFF. Michigan first filed the instant suit in

 January 2020 against PFAS manufacturers to recover costs and damages related

 exclusively to PFAS contamination from industrial and other non-AFFF sources. The

 Complaint explicitly disclaimed any recovery for natural resource damages and other

 injury caused by AFFF contamination of any kind, whether Commercial or Mil-Spec.

 (Compl. at ¶ 19, ECF No. 1–2, PageID.43.)

       Subsequently, in August of 2020, Michigan filed a complaint against Mil-Spec

 AFFF manufacturers, including 3M, concerning contamination caused exclusively by

 Mil-Spec AFFF. (See generally Ex. A.) The Mil-Spec Complaint excluded any claim

 for damages related to PFAS or Commercial AFFF. (Id. at ¶ 27.) Michigan filed the

 Mil-Spec case in federal court as Plaintiffs asserted a federal claim under the

 Resource Conservation and Recovery Act.

       There is no overlap in recovery between the two cases—the PFAS complaint

 seeks recovery for damages exclusively caused by PFAS and the Mil-Spec complaint

 seeks recovery for damages exclusively caused by Mil-Spec AFFF. Plaintiffs have

 consistently maintained this position throughout the entirety of this litigation,

 including but not limited to the following instances where Plaintiffs expressly stated

 they do not seek any recovery in this litigation for AFFF contamination:

       -   Jan. 14, 2020 Complaint: “PFAS as defined in this Complaint
           does not include aqueous film-forming foams (AFFFs) of any kind or
           type containing PFOA and/or PFOS, or otherwise.” (Compl. at ¶ 19,
           ECF No. 1–2, PageID.43.)

       -   August 21, 2020 Transcript: During oral argument, Plaintiffs’
           counsel informed the Court, “[o]ur Complaint specifically excluded
           any allegations related to AFFF. And as I told the Court, I think,
           last month, we are going to file different complaints on different

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              products against different defendants over time.” (ECF No. 1-16,
              PageID.3303.)

       -      Sep. 26, 2020 Initial Disclosures: “PFAS as defined in this
              Complaint does not include aqueous film-forming foams (AFFFs) of
              any kind or type containing PFOA and/or PFOS, or otherwise.”
              (See Ex. D at pg. 2.)

       -      Jan. 28, 2021 Plaintiffs’ Responses to Daikin’s
              Interrogatories: In response to the very interrogatory relied on by
              3M as the sole basis for its removal, Plaintiffs stated:

                 o “Plaintiffs object to this subpart of the Interrogatory to the
                   extent that it seeks discovery regarding PFAS contamination
                   resulting from [AFFF]. This litigation does not involve AFFF
                   contamination.” (ECF. No. 1–9, PageID. 619 & 626.)

                 o Notwithstanding the lack of relevance of AFFF in this
                   litigation, Plaintiffs provided a chart identifying sites that
                   are contaminated with AFFF, PFAS, or both—information
                   that came straight from the MPART website. After
                   providing this information, Plaintiffs repeated, “[i]n this
                   litigation, Plaintiffs seek to recover damages for PFAS
                   contamination at the ‘sites’ and ‘areas of interest’ listed
                   above.” (ECF. No. 1–9, PageID. 625.)

       Contrary to 3M’s misrepresentation of Plaintiffs’ response, Plaintiffs expressly

 disclaimed any recovery for AFFF and did not state that Plaintiffs “are seeking to

 recover in this case for alleged PFAS contamination from both alleged non-AFFF and

 AFFF sources.” (Not. of Rem., ¶7, ECF No. 1, PageID.2.) Plaintiffs simply responded

 to Daikin’s request that Plaintiffs identify AFFF sites and informed that Plaintiffs

 only seek to recover for PFAS and do not seek recovery for any AFFF identified. This

 is entirely consistent with Plaintiffs’ Complaint; Plaintiffs’ Initial Disclosures;

 Plaintiffs’ comments at hearing; and every other representation made by Plaintiffs in

 this case.



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       3M’s reliance on Plaintiffs’ denial of Daikin’s poorly-worded requests for

 admission is equally without substance. Specifically, 3M argues:

       Although Plaintiffs tried to argue in their discovery responses that
       ‘[t]his litigation does not involve AFFF contamination’ . . . Plaintiffs
       denied a Request to Admit that ‘Defendants cannot be held liable for
       any PFAS contamination for which Plaintiffs seek Relief unless
       [Plaintiffs] prove that the contamination is not attributable . . . to the
       manufacture, sale, storage, or use of AFFF.” (ECF No. 1, PageID.10–
       11.)

       Plaintiffs’ burden in this case is to prove the damages were caused by PFAS.

 3M is free to argue that all or part of the contamination at any site is caused by AFFF

 rather than PFAS—but that will be 3M’s burden to prove, not Plaintiffs’ burden to

 refute. Hence Plaintiffs’ denial of Daikin’s request for admission that intentionally

 mischaracterizes Plaintiffs’ burden in this action. The reason 3M so desperately

 seeks to misconstrue Plaintiffs’ interrogatory responses and denials is apparent. The

 federal government contractor defense is only relevant if Plaintiffs intend to seek

 recovery for damages proven to be caused by AFFF. As consistently stated by

 Plaintiffs, they will only seek recovery in this action for damages caused by non-

 AFFF sources of PFAS contamination. As set forth below, the presence of AFFF in

 Michigan may limit the damages recoverable in this PFAS action, but it does not give

 rise to a colorable federal government contractor defense.


       B.     Because Plaintiffs are not seeking damages in this case for
              contamination caused by any AFFF, 3M does not have a viable
              federal government contractor defense.

       Under no scenario can the federal contractor defense apply to the claims

 against 3M in this case, as it does not concern any contamination caused by AFFF.


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 PFAS contamination from industrial and consumer sources is not the same as

 contamination from AFFF. The Joint Panel on Multidistrict Litigation appears to

 recognize this distinction and has already determined that this matter is not

 appropriate for inclusion in the AFFF MDL. (See Ex. C.)3 3M has not and cannot

 satisfy the required elements that would entitle it to removal under the federal officer

 removal statute. This court therefore lacks federal officer jurisdiction over this

 matter and must remand this case to state court.


              1.     3M was not “acting under” the direction of a federal officer
                     or agency for purposes of the federal officer removal
                     statute when it designed, manufactured, or supplied PFAS
                     for consumer and industrial purposes.

       3M was not “acting under” the direction and control of any federal officers,

 including the U.S. Navy or Department of Defense, when it designed, manufactured,

 and/or supplied PFAS products for consumer and industrial purposes. This

 fundamental fact obviates the federal contractor defense. 3M, nonetheless, attempts

 to manipulate Plaintiffs’ well-pleaded complaint to include contamination that is

 simply not at issue in this case. 3M was not “acting under” a federal officer when it

 produced the PFAS at issue in this matter.

       A private contractor can only be “acting under” a federal officer if it is “helping

 the Government to produce an item that it needs.” Watson v. Philip Morris Co., Inc.,


 3 See also In re: Aqueous Film-Forming Foams Products Liability Litigation, MDL No.
 2873, Doc. 585, pg. 3 (J.P.M.L. Feb. 5, 2020) (attached as Ex. B) (“We have not . . .
 transferred to the MDL actions that do not contain any allegations or claims relating
 to AFFF use. Indeed, we recently denied transfer of an action, Middlesex, in which the
 claims were ‘directed at 3M and its manufacture, marketing, and sales of PFOS and
 PFOA, not its manufacture of AFFF products.’”).
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 551 U.S. 142, 153-54 (2007). Only where a private contractor is performing a job that

 “in the absence of a contract with a private firm, the Government itself would have

 had to perform,” is the contractor acting under a federal officer. Id. Mil-Spec AFFF is

 simply not at issue in this complaint. 3M and the other defendants did not produce

 the PFAS at issue in this complaint—PFAS used in industrial and consumer

 applications— for the federal government. 3M was, therefore, not acting under a

 federal officer when it produced PFAS for uses such as Scotchgard.

       The cases cited by 3M in support of its removal illustrate what is required to

 satisfy this element and why this element cannot be satisfied in this matter. In

 Isaacson, for example, the court found that defendants were acting under a federal

 officer when they produced Agent Orange for the federal government pursuant to

 contracts with the federal government. Isaacson v. Dow Chem. Co., 517 F.3d 129, 137

 (2d Cir. 2008). The court in Ayo analyzed only whether 3M acted under a federal

 officer when producing Mil-Spec AFFF. Ayo v. 3M Co., No. 18-CV-0373, 2018 U.S.

 Dist. LEXIS 170996, *20 (E.D.N.Y. Sep. 30, 2018).

       This court’s decision in Nessel v. Chemguard, Inc. also fails to offer any support

 for 3M’s contorted position. That case involves contamination caused by AFFF that

 was not produced in accordance with military specifications. This case involves

 contamination caused by entirely different products produced for industrial and

 consumer purposes, not for use in firefighting. Whether 3M and the defendants acted

 under a federal officer in producing Mil-Spec AFFF has no bearing on the

 applicability of the federal officer removal statute to this case. Mil-Spec AFFF is not

 at issue in this complaint.

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       3M’s PFAS products, like Scotchgard, that it produced for industrial and

 consumer use were never produced for the federal government or under the federal

 government’s specifications, nor have these products ever been critical to any federal

 government mission. The U.S. military’s Mil-Spec performance and quality control

 specifications that apply to Mil-Spec AFFF were developed long after 3M and the

 defendants had begun producing PFAS for industrial and consumer products. Those

 specifications do not apply whatsoever to the design, production, sale, or use of

 industrial and consumer PFAS products. Industrial and consumer PFAS products are

 not products that the federal government would have had to create in 3M’s absence

 because industrial and consumer PFAS products were not used by, or made to carry

 out, the duties or tasks of the U.S. Government, Department of Defense, or military.

 3M has not satisfied and cannot satisfy the “acting under” requirement of §

 1442(a)(1).


               2.    3M did not produce and/or sell non-AFFF PFAS products
                     under color of federal office.

       The federal officer removal statute does not confer jurisdiction on the federal

 courts unless it can be demonstrated that a defendant performed the actions for which

 it is being sued “under color of [federal] office.” Jefferson County v. Acker, 527 U.S.

 423, 431 (1999). 3M cannot satisfy this element as it cannot “show a nexus, a causal

 connection between the charged conduct and the asserted official authority.” Id.

 (internal quotations and citations omitted). In other words, 3M, as the removing

 party, would have to be able to show that it is being sued because of the acts it

 performed at the direction of the federal officer. See Watson, 551 U.S. at 148; City of

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 Cookeville v. Upper Cumberland Elec. Membership Corp., 484 F.3d 380, 391 (6th

 Cir.2007). It cannot.

       3M cites to this court’s decision in Nessel v. Chemguard to attempt to procure

 support for this element. In that decision, this court relied on Bennett to conclude

 that, “[e]ven if plaintiffs are later able to demonstrate that their injuries occurred

 ‘because of an act not contemplated by [the federal contract], it is sufficient for

 [removal] purposes that [execution of the federal contracts] gave rise of the alleged

 cross-contamination.’” (ECF No. 1–5, PageID.372.) The Bennett decision, however,

 fails to offer any support for removal. This court’s reasoning in Nessel v. Chemguard

 does not, and cannot apply to this case, which does not concern any contamination

 from AFFF of any kind.

       In Bennett, the federal government (Federal Aviation Administration (“FAA”))

 hired a mold remediation specialist to remediate mold in a traffic control tower. The

 plaintiffs claimed that the mold remediation specialist negligently performed its

 contract with the FAA and exacerbated the mold contamination. The mold

 remediation specialist removed the case to federal court, arguing that it was acting

 under federal officers when it performed the mold remediation contract. The

 plaintiffs argued that the mold remediation specialist was not acting under a federal

 officer because the actions that exacerbated the mold contamination constituted

 deviations from the contract’s performance provisions. The court ultimately found

 that the FAA’s contract with the mold remediation specialist gave rise to the conduct

 that exacerbated the mold contamination. In essence, the complained of conduct was



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 performed in furtherance of (if not in compliance with) the mold remediation contract

 with the FAA. Bennett v. MIS Corp., 607 F.3d 1076, 1088 (6th Cir. 2010).

        In contrast to the decision in Bennett, 3M’s design, manufacture, and/or supply

 of industrial and consumer PFAS products—which is the cause of the State’s injuries

 and the basis for which 3M is being sued in this case—would have occurred in the

 absence of a military specification for Mil-Spec AFFF. This is readily apparent from

 the undisputed fact that 3M had been producing commercial and industrial PFAS

 products for decades before PFAS were used in AFFF and the federal government

 developed the military specifications for Mil-Spec AFFF. 3M cannot show any causal

 nexus between any federal officer’s instructions as they relate to Mil-Spec AFFF and

 3M’s design, manufacture, and supply of commercial and industrial PFAS products

 like Scotchgard. 3M has not and cannot establish the second element of federal officer

 jurisdiction.


                 3.   3M does not have a colorable claim that the government
                      contractor defense applies to the complaint in this matter.

        3M is not entitled to removal unless it can raise a colorable federal defense.

 For 3M’s government contractor defense to be colorable, it must at least appear that

 (1) the United States approved reasonably-precise specifications for commercial and

 industrial PFAS; (2) the commercial and industrial PFAS at issue in this complaint

 conformed to those specifications; and (3) the suppliers warned the United States

 about the dangers in the use of the commercial and industrial PFAS that were known

 to the suppliers, but not to the United States. Boyle v. United Technologies Corp, 487

 U.S. 500, 501 (1988). The three requirements limit the scope of the government

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 contractor defense to those circumstances “where the government has actually

 participated in discretionary design decisions, either by designing a product itself or

 approving specifications prepared by the contractor.” In re 3M Combat Arms Earplug

 Prods. Liab. Litig., 474 F. Supp. 3d 1231, 1246 (N.D. Fla. 2020) (citing Harduvel, 878

 F.2d at 1316). “Stripped of its essentials, the military contractor’s defense under

 Boyle is to claim, ‘[t]he Government made me do it.’” In re “Agent Orange” Product

 Liability Litigation, 304 F. Supp. 2d 404, 432 (E.D.N.Y. 2004).

       3M has not met and cannot meet its burden. 3M does not contend that its

 commercial and industrial PFAS products were manufactured according to U.S.

 military specifications. Instead, 3M attempts to amend and alter the scope of

 Plaintiffs’ complaint to include contamination from Mil-Spec AFFF. Of course,

 Plaintiffs are the only parties that can actually amend the complaint. 3M’s Mil-Spec

 AFFF is not at issue in this case. The federal government has never developed or

 approved any specification for 3M’s commercial and industrial PFAS products, such

 as Scotchgard. 3M did not need to conform to military specifications when it

 designed, manufactured, or supplied commercial and industrial PFAS products. 3M,

 accordingly, never warned the federal government of the dangers of its commercial

 and industrial products.

       Even if further investigation determines that contamination at issue in this

 complaint was actually caused by Mil-Spec AFFF, the federal contractor defense

 would not be at issue. The federal contractor defense excuses actions and omissions

 for which an entity would otherwise be liable. In this instant matter, 3M cannot be

 liable for damages from Mil-Spec AFFF contamination. 3M and the other defendants

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 would not need to excuse any of their actions or omissions that resulted in Mil-Spec

 AFFF contamination. Whether the federal government had a hand in how the Mil-

 Spec AFFF was produced has absolutely no significance and has absolutely no bearing

 on the inclusion of that contamination in this matter. Granting 3M the benefit of the

 federal officer removal statute in this action, which does not seek damages for

 contamination caused by any AFFF, would extend the statute’s benefit beyond its

 narrow purpose—which is to protect federal officers from state court hostility to the

 federal government. See Watson, 551 U.S. at 147-50. Instead, removal of this action

 would reward 3M’s gamesmanship and wait-and-see tactics and permit a single

 defendant to control the trajectory of the litigation by removing the matter under the

 guise of non-existent federal officer jurisdiction. This court must remand this matter

 to the 17th Judicial Circuit Court in Kent County, Michigan.


 IV.   Attorneys’ fees are appropriate under the circumstances of
       Defendant’s removal.

       Section 1447(c) allows a court to “require payment of just costs and any actual

 expenses, including attorney fees, incurred as a result of the removal.” Such an

 award is committed to the discretion of the district court and does not depend on any

 finding that the removal was in bad faith. Daleske v. Fairfield Communities, Inc., 17

 F.3d 321, 323 (10th Cir. 1994). An award of fees is appropriate where the removing

 party had no objectively reasonable basis for seeking removal. Martin v. Franklin

 Capital Corp., 546 U.S. 132, 141 (2005).

       Defendants have no objectively reasonable basis for removing Michigan’s

 complaint. In a poor attempt to justify its improper and untimely removal, 3M relied

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 entirely on the blatant misrepresentation that 3M just now learned of the presence of

 AFFF at sites in Michigan, further raising the false accusation that Plaintiffs intend

 to seek damages for AFFF contamination. As Plaintiffs have shown above, both

 arguments are factually inaccurate and further fail to establish any legal basis for

 removal. 3M has no reasonable basis for removing this matter and Plaintiffs should

 be awarded attorneys’ fees and costs.


                                     CONCLUSION

       Actions brought by the Attorney General of a state to protect its residents and

 its environment under state laws is the paradigmatic example of a case that requires

 exclusive state court jurisdiction. For the foregoing reasons, this Court should

 remand this action back to the Circuit Court for the 17th Judicial Circuit in Kent

 County, Michigan, and award the State of Michigan its reasonable attorneys’ fees and

 costs incurred as a result of this removal.




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                                           Respectfully submitted,

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                         CERTIFICATE OF COMPLIANCE

       Pursuant to W.D. Mich. LCivR 7.2(b)(ii), Plaintiffs’ Brief in Support of Motion

 to Remand contains 9,381 words excluding the case caption, cover sheets, any table of

 contents, any table of authorities, the signature block, attachments, exhibits,

 affidavits, proof of service, and this Certificate of Compliance. The undersigned used

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